  Case 1:22-cv-01466-MN Document 8 Filed 11/29/22 Page 1 of 2 PageID #: 2684




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                           )
                                                  )
               Plaintiff,                         )
                                                  )
      v.                                          )     C.A. No. 22-1466-MN
                                                  )
TESLA, INC.,                                      )
                                                  )
               Defendant.                         )

                 UNOPPOSED MOTION AND ORDER TO EXTEND TIME

       The Defendant’s deadline to answer or otherwise respond to the complaint in the above

action is November 29, 2022, and the Defendant has requested an extension of that deadline.

Plaintiff has agreed to extend the Defendant’s deadline to December 29, 2022, and further has

agreed, as a courtesy, to request the extension on the Defendant’s behalf.

       WHEREFORE, Plaintiff respectfully requests that the Court extend the Defendant’s

deadline to answer, move, or otherwise respond to the complaint through and including

December 29, 2022.

                                              /s/ Karen E. Keller
                                              Karen E. Keller (No. 4489)
                                              Emily S. DiBenedetto (No. 6779)
                                              SHAW KELLER LLP
                                              I.M. Pei Building
                                              1105 North Market Street, 12th Floor
                                              Wilmington, DE 19801
OF COUNSEL:                                   (302) 298-0700
Blair Jacobs                                  kkeller@shawkeller.com
Christina A. Ondrick                          edibenedetto@shawkeller.com
John S. Holley                                Attorneys for Autonomous Devices LLC
MCKOOL SMITH, P.C.
1999 K Street, NW Suite 600
Washington, D.C. 20006
(202) 370-8300
 Case 1:22-cv-01466-MN Document 8 Filed 11/29/22 Page 2 of 2 PageID #: 2685




George T. Fishback, Jr.
MCKOOL SMITH, P.C.
303 Colorado Street, Suite 2100
Austin, TX 78701
(512) 692-8756

Dated: November 29, 2022


              SO ORDERED this ____ day of ______________, 2022.

                                       _____________________________
                                          United States District Judge




                                          2
